       Case 4:98-cr-00070-DLH              Document 331               Filed 04/16/08    Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                               NORTHWESTERN DIVISION

United States of America,           )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )     Case Nos. 4:98-cr-70
                                    )
Raymond Falcon,                     )
                                    )
                  Defendant.        )     ORDER DISMISSING MOTION
______________________________________________________________________________

       Before the Court is Defendant Raymond Falcon’s motion to void judgment. The motion

is filed pro se and pursuant to Rule 60(b)(4) of the Federal Rules of Civil Procedure.

I.     BACKGROUND

       Falcon was found guilty by a jury of one count of conspiracy to distribute a controlled

substance, and two counts of money laundering on January 28, 2000. He was sentenced to 360

months imprisonment on March 31, 2000. An appeal was taken and the conviction affirmed on

January 5, 2001. United States v. Falcon, 1 Fed. Appx. 555 (8th Cir. 2001). A section 2255

motion was filed December 17, 2001, and denied by this Court on May 28, 2002.1 Falcon

appealed. On October 31, 2002, the Eighth Circuit Court of Appeals issued an order denying

Falcon a certificate of appealability.2

II.    ANALYSIS

       The Eighth Circuit has instructed that when criminal defendants file Rule 60(b) motions

following the dismissal of section 2255 motions the first action of the district court should be a

brief inquiry into whether the motion is really a second or successive section 2255 motion. Boyd

       1
        This motion pertained to convictions in both case number 4:98-cr-70 and case number 4:99-cr-70.
       2
        This order appears in the docket of case number 4:99-cr-70.
       Case 4:98-cr-00070-DLH          Document 331        Filed 04/16/08      Page 2 of 3




v. United States, 304 F.3d 813, 814 (8th Cir. 2002). If the Rule 60(b) motion is in actuality a

successive section 2255 motion the district court may either dismiss the motion for failure to

obtain a certificate of appealability (COA) or transfer the motion to the court of appeals. Id. The

reason for this is that inmates may not bypass the authorization requirements of section 2255 by

invoking some other procedure. United States v. Williams, 170 Fed. Appx. 989 (8th Cir. 2006).

If a Rule 60(b) motion attacks the court’s denial of the section 2255 motion on procedural rather

than substantive grounds the Rule 60(b) motion should not be treated as a successive section

2255 motion. Id.

       A Rule 60(b) motion is not a second chance to reargue substantive arguments rejected by

the district court in the defendants section 2255 motion or raise new arguments which the motion

did not address. Cf., Gonzalez v. Crosby, 545 U.S. 524, 531-33 (2005)(addressing the

applicability of Rule 60(b) to habeas petitions under 28 U.S.C. § 2254). Arguments raised which

attack the underlying conviction or sentence are generally substantive in nature while arguments

which attack the integrity or legitimacy of the habeas proceeding itself are procedural in nature.

See Reid v. Angelone, 369 F.3d 363, 375 (4th Cir. 2004); Harris v. United States, 367 F.3d 74, 82

(2nd Cir. 2004).

       In his current motion Falcon presents three claims:

       1.      Ineffective assistance of counsel failed to challenge the subject matter
               jurisdictional defects in proceedings’ integrity.

       2.      Failure of government to produce notice of intent to seek enhanced
               penalties based on prior convictions.

       3.      Unconstitutionally applied judgment due to state prior charging
               instruments lacking subject matter jurisdiction and essential elements of
               offense charged.


                                                 2
       Case 4:98-cr-00070-DLH          Document 331         Filed 04/16/08      Page 3 of 3




       All of these claims attack Falcon’s underlying conviction. The first claim alleges

ineffective assistance of trial counsel. The second and third claims attack the validity of the

sentence which was imposed. These arguments were not raised in Falcon’s section 2255 motion.

The arguments do not call into question the Court’s ruling on Falcon’s section 2255 motion or

the proceedings related thereto. The Court finds these arguments are substantive rather than

procedural.

III.   CONCLUSION

       The purported Rule 60(b) motion is in reality a second or successive section 2255

motion. Accordingly, the motion is dismissed for failure to obtain a certificate of appealability

from the Court of Appeals. 28 U.S.C. §§ 2255(h) & 2244(b)(3)(A).

       IT IS SO ORDERED.

       Dated this 16th day of April, 2008.


                                                      /s/ Patrick A. Conmy
                                                        Patrick A. Conmy, Senior District Judge
                                                               United States District Court




                                                 3
